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 4

 5 Attorney for:
   MARIO LOPEZ-AYALA
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                           CASE NO. 13-0412 TLN
10
                                   Plaintiff,            STIPULATION AND PROPOSED ORDER
11
                            v.
12
     MARIO LOPEZ-AYALA,
13                                 Defendants

14
                                                 STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, Todd Pickles, and
16
     Defendants Mario Lopez-Ayala, represented by Attorney Dina Santos, hereby stipulate to allow Mr.
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     Lopez-Ayala to travel to Mexico to attend his father’s funeral. Mr. Lopez-Ayala will be permitted to
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     travel to Mexico on June 1, 2017, and return on June 7, 2017. Mr. Lopez-Ayala’s passport will be
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     released to him from the Clerk’s office forthwith and returned to the Clerk’s Office on June 8, 2017.
20
     Defense Counsel has advised Mr. Lopez-Ayala that failure to return on June 7, 2017, will result in a
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     violation of his terms of release, and may subject him to further prosecution.
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            IT IS SO STIPULATED.
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            Case 2:13-cr-00412-TLN Document 99 Filed 06/01/17 Page 2 of 2


 1 Dated: June 1, 2017                          PHILLIP A. TALBERT
                                                United States Attorney
 2

 3                                              /s/ Todd Pickles
                                                TODD PICKLES
 4                                              Assistant United States Attorney

 5

 6 Dated: June 1, 2017                       /s/ Dina L. Santos
                                             DINA L. SANTOS, ESQ.
 7
                                             Attorney for MARIO LOPEZ-AYALA
 8

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10                                       ORDER
11        IT IS SO FOUND AND ORDERED.
12 Dated: June 1, 2017

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